                                                                                                                              01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 1 of 13




                                                                                      Subject                                         Start Date Start Time End Date  End Time Duration (hh:mm:ss)        User Id   Event Id  Repeat Id
                                                                                      Zaandam(B) DomRep/PEV                              1/1/2021   8:00 AM   1/1/2021 5:00 PM                9:00:00     134833    128693193           0
                                                                                      Carnival Conquest(N) to/fm                         1/1/2021   9:00 AM   1/1/2021 5:00 PM                8:00:00     134833    127866733           0
                                                                                      Eurodam(B) PuertaPlata/PEV                         1/2/2021   8:00 AM   1/2/2021 5:00 PM                9:00:00     134833    125664964           0
                                                                                      Celebrity Apex(B) PEV/CostaMaya                    1/3/2021   7:00 AM   1/3/2021 5:00 PM               10:00:00     134833    128540844           0
                                                                                      Rotterdam(N) Curacao/PEV                           1/3/2021   8:00 AM   1/3/2021 5:00 PM                9:00:00     134833    128015455           0
                                                                                      Star Legend(M) Miami/Cozumel                       1/3/2021   8:00 AM   1/3/2021 4:30 PM                8:30:00     134833    133890141           0
                                                                                      Seabourn Sojourn(M) Maiami/Belize                  1/4/2021   7:00 AM   1/4/2021 4:00 PM                9:00:00     134833    133646826           0
                                                                                      Viking Sky(B) Miami/Cozumel                        1/4/2021   8:00 AM   1/4/2021 5:00 PM                9:00:00     134833    125153211           0
                                                                                      Veendam(N) Tampa/SanJuan                           1/4/2021 11:00 AM    1/4/2021 5:30 PM                6:30:00     134833    135557712           0
                                                                                      Carnival Conquest(B) Miami/Cozumel                 1/5/2021   7:30 AM   1/5/2021 1:30 PM                6:00:00     134833    112903021           0
                                                                                      Disney Magic(N) Miami/Bahamas                      1/5/2021   8:30 AM   1/5/2021 3:45 PM                7:15:00     134833    136081995           0
                                                                                      Celebrity Infinity(B) Cozumel/Miami                1/6/2021   7:00 AM   1/6/2021 5:00 PM               10:00:00     134833    125544726           0
                                                                                      Silver Moon(M) Aruba/PEV                           1/6/2021   9:00 AM   1/6/2021 6:00 PM                9:00:00     134833    135728860           0
     EXHIBIT C




                                                                                      Equinox(B) Cayman/PEV                              1/7/2021   7:00 AM   1/7/2021 5:00 PM               10:00:00     134833    129253625           0
                                                                                      Carnival Sunrise(B) Miami/Cozumel                  1/8/2021   7:30 AM   1/8/2021 1:30 PM                6:00:00     134833    125544561 3208068
                                                                                      Silver Whisper(M) PEV/Belize                       1/8/2021   8:00 AM   1/8/2021 4:45 PM                8:45:00     134833    129005081           0
                                                                                      Norwegian Pearl(N) Miami/Nassau                    1/9/2021   6:30 AM   1/9/2021 2:00 PM                7:30:00     134833    142078301           0
                                                                                      Jewel of the Seas(B) Belize/Galveston              1/9/2021   7:00 AM   1/9/2021 3:00 PM                8:00:00     134833    140190178           0
                                                                                      Insignia(M) Miami/Cartagena                       1/10/2021   6:30 AM 1/10/2021 3:00 PM                 8:30:00     134833    133702632           0
                                                                                      N.Amsterdam(N) PEV/PuertaPlata                    1/10/2021   8:00 AM 1/10/2021 5:00 PM                 9:00:00     134833    125664981           0
                                                                                      Rhapsody(B) Tampa/CostaMaya                       1/10/2021 11:00 AM 1/10/2021 6:00 PM                  7:00:00     134833    128540876           0
                                                                                      Celebrity Edge(B) PEV/Costa Maya                  1/11/2021   7:00 AM 1/11/2021 5:00 PM                10:00:00     134833    125544591           0
                                                                                      Celebrity Infinity(N) Miami/Cozumel               1/12/2021   7:00 AM 1/12/2021 5:00 PM                10:00:00     134833    125544659           0
                                                                                      Carnival Conquest(B) Miami/Cozumel                1/12/2021   7:30 AM 1/12/2021 1:30 PM                 6:00:00     134833    125544607 3208069
                                                                                      Scarlet Lady(B) Miami/Bimini                      1/14/2021   8:00 AM 1/14/2021 5:00 PM                 9:00:00     134833    134728300 3461386
                                                                                      Norwegian Sun(N) Canaveral/Freeport               1/14/2021 11:00 AM 1/14/2021 7:00 PM                  8:00:00     134833    144549682           0
                                                                                      Brilliance(B) Tampa/Cozumel                       1/15/2021 11:00 AM 1/15/2021 5:00 PM                  6:00:00     134833    128540904           0
                                                                                      Armonia(N) fm/to                                  1/16/2021   8:00 AM 1/16/2021 6:00 PM                10:00:00     134833    144469686           0
                                                                                      Norwegian Jade(B) Tampa/DomRep                    1/16/2021 11:00 AM 1/16/2021 7:00 PM                  8:00:00     134833    127275629           0
                                                                                      Celebrity Apex(B) PEV/CostaMaya                   1/17/2021   7:00 AM 1/17/2021 5:00 PM                10:00:00     134833    125544661 3208070
                                                                                      Disney Wonder(N) Galveston/Bahamas                1/17/2021 11:00 AM 1/17/2021 5:00 PM                  6:00:00     134833    136081997           0
                                                                                      Viking Sky(N) fm Miami                            1/18/2021   7:30 AM 1/18/2021 5:00 PM                 9:30:00     134833    138196536           0
                                                                                      Empress(M) Miami/Caymanl                          1/18/2021   8:00 AM 1/18/2021 5:30 PM                 9:30:00     134833    135035599           0
                                                                                      Carnival Freedom(B) to/fm                         1/18/2021 11:00 AM 1/18/2021 7:00 PM                  8:00:00     134833    127866751           0
                                                                                      Carnival Conquest(B) Miami/Cozumel                1/19/2021   7:30 AM 1/19/2021 1:30 PM                 6:00:00     134833    125544608 3208069
                                                                                      Silver Shadow(M) PEV/Cozumel                      1/19/2021   8:00 AM 1/19/2021 5:00 PM                 9:00:00     134833    131745848           0
                                                                                                                                                                 1
                                                                                                                           01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 2 of 13




                                                                                      Brilliance(N) Tampa/Cozumel                    1/19/2021   11:00 AM    1/19/2021    6:00 PM                 7:00:00   134833   125544685   3208074
                                                                                      Celebrity Infinity(N) Cozumel/Miami            1/20/2021    7:00 AM    1/20/2021    5:00 PM                10:00:00   134833   144850126         0
                                                                                      Disney Magic(B) Miami/Bahamas                  1/20/2021    8:30 AM    1/20/2021    4:00 PM                 7:30:00   134833   132307466         0
                                                                                      Ventura(B) NOrleans/St Thomas                  1/21/2021    8:00 AM    1/21/2021    6:00 PM                10:00:00   134833   129374076         0
                                                                                      MSC Armonia(N) fm/to                           1/21/2021    8:00 AM    1/21/2021    6:00 PM                10:00:00   134833   144483264         0
                                                                                      Celebrity Infinity(N) Miami/Nassau             1/22/2021    7:00 AM    1/22/2021    5:00 PM                10:00:00   134833   144850135         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel              1/22/2021    7:30 AM    1/22/2021    3:30 PM                 8:00:00   134833   125544562   3208068
                                                                                      Eurodam(B) PuertaPlata/PEV                     1/23/2021    8:00 AM    1/23/2021    5:00 PM                 9:00:00   134833   125665028         0
                                                                                      Scarlet Lady(N) Miami/Bimini                   1/23/2021    8:00 AM    1/23/2021    7:00 PM                11:00:00   134833   135117049         0
                                                                                      Oosterdam(N) PEV/PuertaPlata                   1/24/2021    8:00 AM    1/24/2021    5:00 PM                 9:00:00   134833   125665036         0
                                                                                      Rhapsody(B) Tampa/CostaMaya                    1/24/2021   11:00 AM    1/24/2021    6:00 PM                 7:00:00   134833   128540965         0
                                                                                      Celebrity Edge(B) PEV/Costa Maya               1/25/2021    7:00 AM    1/25/2021    5:00 PM                10:00:00   134833   125544748   3208076
                                                                                      Carnival Conquest(B) Miami/Cozumel             1/26/2021    7:30 AM    1/26/2021    1:30 PM                 6:00:00   134833   125544609   3208069
                                                                                      Carnival Glory(N) fm/to                        1/26/2021    8:00 AM    1/26/2021    5:00 PM                 9:00:00   134833   129329782         0
     EXHIBIT C




                                                                                      Riviera(B) Miami/Cozumel                       1/28/2021    8:00 AM    1/28/2021    6:00 PM                10:00:00   134833   129174770         0
                                                                                      Seven Seas Slendour(N) Bahamas/Cozumel         1/28/2021   10:00 AM    1/28/2021    7:00 PM                 9:00:00   134833   133954771         0
                                                                                      Disney Magic(B) Miami/Bahamas                  1/29/2021    8:30 AM    1/29/2021    4:00 PM                 7:30:00   134833   131797516         0
                                                                                      Jewel of the Seas(N) Nassau/Galveston          1/29/2021    9:00 AM    1/29/2021    3:00 PM                 6:00:00   134833   140190151         0
                                                                                      N.Statendam(B) Bahamas/PEV                     1/30/2021    7:30 AM    1/30/2021    5:00 PM                 9:30:00   134833   134660817         0
                                                                                      Celebrity Equinox(N) PEV/Cayman                1/30/2021    8:00 AM    1/30/2021    5:30 PM                 9:30:00   134833   137258868         0
                                                                                      Celebrity Apex(B) PEV/CostaMaya                1/31/2021    7:00 AM    1/31/2021    5:00 PM                10:00:00   134833   125544662   3208070
                                                                                      N.Amsterdam(N) PEV/GTurk                       1/31/2021    8:00 AM    1/31/2021    5:00 PM                 9:00:00   134833   125665084         0
                                                                                      Viking Sky(B) Miami/Cozumel                     2/1/2021    8:00 AM     2/1/2021    5:00 PM                 9:00:00   134833   125153217         0
                                                                                      Empress(M) Miami/CMaya                          2/1/2021    8:00 AM     2/1/2021    5:30 PM                 9:30:00   134833   135035622         0
                                                                                      Majesty(N) Norleans/Bahamas                     2/1/2021   10:00 AM     2/1/2021    5:00 PM                 7:00:00   134833   134849246         0
                                                                                      Carnival Conquest(B) Miami/Cozumel              2/2/2021    7:30 AM     2/2/2021    1:30 PM                 6:00:00   134833   125544610   3208069
                                                                                      Brilliance(N) Tampa/Cozumel                     2/2/2021   11:00 AM     2/2/2021    6:00 PM                 7:00:00   134833   125544686   3208074
                                                                                      Disney Magic(B) Miami/Bahamas                   2/3/2021    8:30 AM     2/3/2021    4:00 PM                 7:30:00   134833   131797595         0
                                                                                      Armonia(N) fm Tampa                             2/3/2021   12:00 PM     2/3/2021    7:00 PM                 7:00:00   134833   136135768         0
                                                                                      MSC Armonia(B) fm/to                            2/4/2021    8:00 AM     2/4/2021    6:00 PM                10:00:00   134833   144483281         0
                                                                                      Celebrity Infinity(N) Miami/Nassau              2/5/2021    7:00 AM     2/5/2021    5:00 PM                10:00:00   134833   144850140         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel               2/5/2021    7:30 AM     2/5/2021    3:30 PM                 8:00:00   134833   125544563   3208068
                                                                                      Norwegian Pearl(B) Miami/Bahamas                2/6/2021    7:00 AM     2/6/2021    2:00 PM                 7:00:00   134833   141868585         0
                                                                                      Eurodam(N) charter Cozumel/PEV                  2/6/2021    8:00 AM     2/6/2021    7:00 PM                11:00:00   134833   138609351         0
                                                                                      Disney Wonder(B) NOrleans/Bahamas               2/7/2021    8:30 AM     2/7/2021    4:00 PM                 7:30:00   134833   131797631         0
                                                                                      Celebrity Edge(B) PEV/Costa Maya                2/8/2021    7:00 AM     2/8/2021    5:00 PM                10:00:00   134833   125544749   3208076
                                                                                      Celebrity Equinox(N)PEV/Cayman                  2/8/2021    8:00 AM     2/8/2021    5:00 PM                 9:00:00   134833   128541222         0
                                                                                                                                                              2
                                                                                                                              01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 3 of 13




                                                                                      Norwegian Pearl(N) Miami/Nassau                    2/9/2021    7:00 AM     2/9/2021    2:00 PM                 7:00:00   134833   141868602         0
                                                                                      Carnival Conquest(B) Miami/Cozumel                 2/9/2021    7:30 AM     2/9/2021    1:30 PM                 6:00:00   134833   125544611   3208069
                                                                                      Majesty(N) Bahamas/NOrleans                       2/11/2021    7:00 AM    2/11/2021    3:00 PM                 8:00:00   134833   135035714         0
                                                                                      Scarlet Lady(B) Miami/Bimini                      2/11/2021    8:00 AM    2/11/2021    5:00 PM                 9:00:00   134833   134728302   3461386
                                                                                      Jewel of the Seas(N) Nassau/Galveston             2/12/2021    9:00 AM    2/12/2021    5:00 PM                 8:00:00   134833   140190148         0
                                                                                      Brilliance(B) charter Tampa/CMaya                 2/12/2021   11:00 AM    2/12/2021    7:00 PM                 8:00:00   134833   123926643         0
                                                                                      Empress(M) Belize/Miami                           2/13/2021    7:30 AM    2/13/2021    5:00 PM                 9:30:00   134833   135755019         0
                                                                                      Eurodam(B) PuertaPlata/PEV                        2/13/2021    8:00 AM    2/13/2021    5:00 PM                 9:00:00   134833   125665100         0
                                                                                      Armonia(N) fm/to                                  2/13/2021    8:00 AM    2/13/2021    6:00 PM                10:00:00   134833   136140652         0
                                                                                      Celebrity Apex(B) PEV/CostaMaya                   2/14/2021    7:00 AM    2/14/2021    5:00 PM                10:00:00   134833   125544663   3208070
                                                                                      Disney Wonder(N) NOrleans/Bahamas                 2/14/2021    8:30 AM    2/14/2021    4:00 PM                 7:30:00   134833   136082022         0
                                                                                      Empress(M) Miami/CMaya                            2/15/2021    8:00 AM    2/15/2021    6:00 PM                10:00:00   134833   135035725         0
                                                                                      Carnival Freedom(B) fm/to                         2/15/2021   10:30 AM    2/15/2021    7:00 PM                 8:30:00   134833   127866798         0
                                                                                      Majesty(N) Norleans/Bahamas                       2/15/2021   11:00 AM    2/15/2021    5:00 PM                 6:00:00   134833   134849255         0
     EXHIBIT C




                                                                                      Carnival Conquest(B) Miami/Cozumel                2/16/2021    7:30 AM    2/16/2021    1:30 PM                 6:00:00   134833   125544612   3208069
                                                                                      Disney Magic(N) Miami/Bahamas                     2/16/2021    8:30 AM    2/16/2021    3:45 PM                 7:15:00   134833   136082025         0
                                                                                      Celebrity Infinity(B) Miami/Nassau                2/17/2021    7:00 AM    2/17/2021    5:00 PM                10:00:00   134833   125544766         0
                                                                                      MSC Armonia(B) fm/to                              2/18/2021    8:00 AM    2/18/2021    6:00 PM                10:00:00   134833   144603501         0
                                                                                      Celebrity Infinity(N) Miami/Nassau                2/19/2021    7:00 AM    2/19/2021    5:00 PM                10:00:00   134833   125544769         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel                 2/19/2021    7:30 AM    2/19/2021    3:30 PM                 8:00:00   134833   125544564   3208068
                                                                                      Armonia(B) fm/to                                  2/20/2021    9:00 AM    2/20/2021    6:00 PM                 9:00:00   134833   144469700         0
                                                                                      N.Amsterdam(N) PEV/PuertaPlata                    2/21/2021    8:00 AM    2/21/2021    5:00 PM                 9:00:00   134833   125665107         0
                                                                                      Disney Wonder(B) NOrleans/Nassau                  2/21/2021    8:30 AM    2/21/2021    4:00 PM                 7:30:00   134833   131797638         0
                                                                                      Celebrity Edge(B) PEV/Costa Maya                  2/22/2021    7:00 AM    2/22/2021    5:00 PM                10:00:00   134833   125544750   3208076
                                                                                      Norwegian Jade(N) Tampa/DomRep                    2/22/2021   11:00 AM    2/22/2021    6:00 PM                 7:00:00   134833   127275877         0
                                                                                      Celebrity Infinity(N) Miami/Cozumel               2/23/2021    7:00 AM    2/23/2021    5:00 PM                10:00:00   134833   125544772         0
                                                                                      Carnival Conquest(B) Miami/Cozumel                2/23/2021    7:30 AM    2/23/2021    1:30 PM                 6:00:00   134833   125544613   3208069
                                                                                      Riviera(N) Belize/Miami                           2/25/2021    7:00 AM    2/25/2021    6:00 PM                11:00:00   134833   128792733         0
                                                                                      Scarlet Lady(B) Miami/Bimini                      2/25/2021    8:00 AM    2/25/2021    5:30 PM                 9:30:00   134833   134728303   3461386
                                                                                      Disney Magic(B) Miami/Bahamas                     2/26/2021    8:30 AM    2/26/2021    4:00 PM                 7:30:00   134833   131797690         0
                                                                                      Armonia(B) fm/to                                  2/27/2021    8:00 AM    2/27/2021    6:00 PM                10:00:00   134833   136135773         0
                                                                                      Celebrity Apex(B) PEV/Cozumel charter             2/28/2021    7:30 AM    2/28/2021    2:00 PM                 6:30:00   134833   125544664   3208070
                                                                                      Empress(M) Miami/CMaya                             3/1/2021    8:00 AM     3/1/2021    6:00 PM                10:00:00   134833   135035735         0
                                                                                      Majesty(B) Norleans/Bahamas                        3/1/2021   10:30 AM     3/1/2021    5:00 PM                 6:30:00   134833   134849269         0
                                                                                      Carnival Glory(B) Miami/Cozumel                    3/2/2021    7:30 AM     3/2/2021    1:30 PM                 6:00:00   134833   125544614   3208069
                                                                                      Brilliance(N) Tampa/Cozumel                        3/2/2021   11:00 AM     3/2/2021    6:00 PM                 7:00:00   134833   125544688   3208074
                                                                                      Disney Magic(B) Miami/Bahamas                      3/3/2021    8:30 AM     3/3/2021    4:00 PM                 7:30:00   134833   136082030         0
                                                                                                                                                                 3
                                                                                                                           01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 4 of 13




                                                                                      Norwegian Sky(B) Miami/Cozumel                  3/4/2021    6:30 AM     3/4/2021 2:00 PM                    7:30:00   134833   141259657         0
                                                                                      MSC Armonia(N) fm/to                            3/4/2021    8:00 AM     3/4/2021 6:00 PM                   10:00:00   134833   144483286         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel               3/5/2021    7:30 AM     3/5/2021 3:30 PM                    8:00:00   134833   125544565   3208068
                                                                                      Norwegian Pearl(N) Miami/Nassau                 3/5/2021    7:30 AM     3/5/2021 5:00 PM                    9:30:00   134833   142378295         0
                                                                                      Eurodam(B) PuertaPlata/PEV                      3/6/2021    8:00 AM     3/6/2021 5:00 PM                    9:00:00   134833   125665178         0
                                                                                      Armonia(N) fm/to                                3/6/2021    9:00 AM     3/6/2021 6:00 PM                    9:00:00   134833   144469702         0
                                                                                      Empress(M) Miami/CMaya                          3/7/2021    8:00 AM     3/7/2021 5:00 PM                    9:00:00   134833   135035740         0
                                                                                      Seven Seas Splendour(N) Bahamas/Cozumel         3/7/2021   10:00 AM     3/7/2021 8:00 PM                   10:00:00   134833   134778632         0
                                                                                      Rhapsody(B) Tampa/CostaMaya                     3/7/2021   11:00 AM     3/7/2021 6:00 PM                    7:00:00   134833   128546367         0
                                                                                      Celebrity Edge(B) PEV/Costa Maya                3/8/2021    7:00 AM     3/8/2021 5:00 PM                   10:00:00   134833   125544751   3208076
                                                                                      Majesty(N) Norleans/Bahamas                     3/8/2021   10:00 AM     3/8/2021 5:00 PM                    7:00:00   134833   134849276   3464943
                                                                                      Norwegian Sky(N) Miami/Cozumel                  3/9/2021    7:00 AM     3/9/2021 5:00 PM                   10:00:00   134833   141259644         0
                                                                                      Carnival Conquest(B) Miami/Cozumel              3/9/2021    7:30 AM     3/9/2021 1:30 PM                    6:00:00   134833   125544615   3208069
                                                                                      Norwegian Jade(B) Tampa/DomRep                 3/10/2021   11:00 AM    3/10/2021 6:00 PM                    7:00:00   134833   127276794         0
     EXHIBIT C




                                                                                      Riviera(N) Miami/Cozumel                       3/11/2021    8:00 AM    3/11/2021 6:00 PM                   10:00:00   134833   129994487         0
                                                                                      Scarlet Lady(B) Miami/Bimini                   3/11/2021    8:00 AM    3/11/2021 5:30 PM                    9:30:00   134833   134728304   3461386
                                                                                      Infinity (N) Miami/Nassau                      3/12/2021    7:00 AM    3/12/2021 5:00 PM                   10:00:00   134833   138086903         0
                                                                                      Disney Magic(B) Miami/Bahamas                  3/12/2021    8:30 AM    3/12/2021 4:00 PM                    7:30:00   134833   131797730         0
                                                                                      Armonia(B) fm/to                               3/13/2021    8:00 AM    3/13/2021 6:00 PM                   10:00:00   134833   136135779         0
                                                                                      Celebrity Apex(B) PEV/CostaMaya                3/14/2021    7:00 AM    3/14/2021 5:00 PM                   10:00:00   134833   125544665   3208070
                                                                                      N.Amsterdam(N) PEV/PuertaPlata                 3/14/2021    8:00 AM    3/14/2021 5:00 PM                    9:00:00   134833   125771341         0
                                                                                      Majesty(N) Norleans/Bahamas                    3/15/2021   10:00 AM    3/15/2021 4:30 PM                    6:30:00   134833   134849277   3464943
                                                                                      Carnival Freedom(B) fm/to                      3/15/2021   11:00 AM    3/15/2021 7:00 PM                    8:00:00   134833   127866824         0
                                                                                      Carnival Conquest(B) Miami/Cozumel             3/16/2021    7:30 AM    3/16/2021 1:30 PM                    6:00:00   134833   125544616   3208069
                                                                                      Brilliance(N) Tampa/Cozumel                    3/16/2021   11:00 AM    3/16/2021 6:00 PM                    7:00:00   134833   125544689   3208074
                                                                                      Disney Magic(B) Miami/Bahamas                  3/17/2021    8:30 AM    3/17/2021 4:00 PM                    7:30:00   134833   136082033         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel              3/19/2021    7:30 AM    3/19/2021 3:30 PM                    8:00:00   134833   125544566   3208068
                                                                                      Armonia(B) fm/to                               3/20/2021    8:00 AM    3/20/2021 6:00 PM                   10:00:00   134833   144469705         0
                                                                                      Rhapsody(B) Tampa/CostaMaya                    3/21/2021   11:00 AM    3/21/2021 6:00 PM                    7:00:00   134833   128546394         0
                                                                                      Star Pride(M) GrandTurk/Miami overnight        3/21/2021    8:00 PM    3/21/2021 11:59 PM                   3:59:00   134833   134153139         0
                                                                                      Star Pride(M) dpt 1700                         3/22/2021   12:00 AM    3/22/2021 5:00 PM                   17:00:00   134833   134153165         0
                                                                                      Celebrity Edge(B) PEV/Costa Maya               3/22/2021    7:00 AM    3/22/2021 5:00 PM                   10:00:00   134833   125544752   3208076
                                                                                      Majesty(N) Norleans/Bahamas                    3/22/2021   10:00 AM    3/22/2021 4:30 PM                    6:30:00   134833   134849278   3464943
                                                                                      Carnival Conquest(B) Miami/Cozumel             3/23/2021    7:30 AM    3/23/2021 1:30 PM                    6:00:00   134833   125544617   3208069
                                                                                      SeaCloud Spirit(M) Bahamas/Miami               3/23/2021    8:00 AM    3/23/2021 1:30 PM                    5:30:00   134833   142432756         0
                                                                                      Star Pride(M) Miami/CMaya                      3/24/2021    8:00 AM    3/24/2021 5:30 PM                    9:30:00   134833   134153188         0
                                                                                      Scarlet Lady(B) Miami/Bimini                   3/25/2021    8:00 AM    3/25/2021 6:30 PM                   10:30:00   134833   134728305   3461386
                                                                                                                                                              4
                                                                                                                             01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 5 of 13




                                                                                      Disney Magic(B) Miami/Bahamas                    3/26/2021    8:30 AM    3/26/2021 4:00 PM                    7:30:00   134833   131797747         0
                                                                                      Eurodam(B) PuertaPlata/PEV                       3/27/2021    8:00 AM    3/27/2021 5:00 PM                    9:00:00   134833   125665301         0
                                                                                      Armonia(N) fm/to                                 3/27/2021    8:00 AM    3/27/2021 6:00 PM                   10:00:00   134833   144469707         0
                                                                                      Celebrity Apex(B) PEV/CostaMaya                  3/28/2021    7:00 AM    3/28/2021 5:00 PM                   10:00:00   134833   125544666   3208070
                                                                                      Carnival Sensation(N) fm/to                      3/28/2021    9:00 AM    3/28/2021 5:00 PM                    8:00:00   134833   127866836         0
                                                                                      Empress(M) Miami/CMaya                           3/29/2021    8:00 AM    3/29/2021 6:00 PM                   10:00:00   134833   135035758         0
                                                                                      Veendam(B) Tampa/SanJuan                         3/29/2021   11:00 AM    3/29/2021 6:30 PM                    7:30:00   134833   135557693         0
                                                                                      Carnival Conquest(B) Miami/Cozumel               3/30/2021    7:30 AM    3/30/2021 1:30 PM                    6:00:00   134833   125544618   3208069
                                                                                      Amera(M) Mobile/Miami                            3/30/2021    8:00 AM    3/30/2021 6:15 PM                   10:15:00   134833   128828452         0
                                                                                      Brilliance(N) Tampa/Cozumel                      3/30/2021   11:00 AM    3/30/2021 6:00 PM                    7:00:00   134833   125544690   3208074
                                                                                      Celebrity Infinity(B) Cozumel/Miami              3/31/2021    7:00 AM    3/31/2021 5:00 PM                   10:00:00   134833   125544796         0
                                                                                      Disney Magic(N) Miami/Bahamas                    3/31/2021    8:30 AM    3/31/2021 4:00 PM                    7:30:00   134833   136082037         0
                                                                                      Majesty(B) Bahamas/NOrleans                       4/1/2021    7:00 AM     4/1/2021 3:00 PM                    8:00:00   134833   136123373         0
                                                                                      MSC Armonia(N) fm/to                              4/1/2021    8:00 AM     4/1/2021 6:00 PM                   10:00:00   134833   144483291         0
     EXHIBIT C




                                                                                      Celebrity Infinity(N) Miami/Nassau                4/2/2021    7:00 AM     4/2/2021 5:00 PM                   10:00:00   134833   125544798         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel                 4/2/2021    7:30 AM     4/2/2021 3:30 PM                    8:00:00   134833   125544567   3208068
                                                                                      Armonia(B) fm/to                                  4/3/2021    9:00 AM     4/3/2021 6:00 PM                    9:00:00   134833   144469709         0
                                                                                      Empress(M) Miami/CMaya                            4/4/2021    8:00 AM     4/4/2021 5:00 PM                    9:00:00   134833   135035764         0
                                                                                      Rhapsody(B) Tampa/CostaMaya                       4/4/2021   11:00 AM     4/4/2021 6:00 PM                    7:00:00   134833   128546488         0
                                                                                      Celebrity Edge(B) PEV/Costa Maya                  4/5/2021    7:00 AM     4/5/2021 5:00 PM                   10:00:00   134833   125544753   3208076
                                                                                      Majesty(N) Norleans/Bahamas                       4/5/2021   10:00 AM     4/5/2021 4:30 PM                    6:30:00   134833   134849297   3464944
                                                                                      Celebrity Infinity(N) Miami/Cozumel               4/6/2021    7:00 AM     4/6/2021 5:00 PM                   10:00:00   134833   125544800         0
                                                                                      Carnival Glory(B) Miami/Cozumel                   4/6/2021    8:00 AM     4/6/2021 4:00 PM                    8:00:00   134833   125544619   3208069
                                                                                      Silver Shadow(M) PEV/Cozumel                      4/6/2021    8:00 AM     4/6/2021 5:00 PM                    9:00:00   134833   131745864         0
                                                                                      Scarlet Lady(B) Miami/Bimini                      4/8/2021    8:00 AM     4/8/2021 7:00 PM                   11:00:00   134833   134728306   3461386
                                                                                      Star Breeze(M) GTurk/Miami overnight             4/10/2021    8:00 AM    4/10/2021 10:59 PM                  14:59:00   134833   144073418         0
                                                                                      Armonia(N) fm/to                                 4/10/2021    9:00 AM    4/10/2021 6:00 PM                    9:00:00   134833   136135782         0
                                                                                      Veendam(B) Tampa/Azores                          4/10/2021   11:00 AM    4/10/2021 6:00 PM                    7:00:00   134833   135557682         0
                                                                                      Star Breeze(M) dpt at 1700                       4/11/2021   12:00 AM    4/11/2021 5:00 PM                   17:00:00   134833   144073424         0
                                                                                      Celebrity Apex(B) PEV/CostaMaya                  4/11/2021    7:00 AM    4/11/2021 5:00 PM                   10:00:00   134833   125544667   3208070
                                                                                      Empress(M) Miami/CMaya                           4/12/2021    8:00 AM    4/12/2021 6:00 PM                   10:00:00   134833   135035783         0
                                                                                      Majesty(B) Norleans/Bahamas                      4/12/2021   10:00 AM    4/12/2021 4:30 PM                    6:30:00   134833   134849298   3464944
                                                                                      Carnival Freedom(N) fm/to                        4/12/2021   11:00 AM    4/12/2021 7:00 PM                    8:00:00   134833   127866850         0
                                                                                      Carnival Conquest(B) Miami/Cozumel               4/13/2021    7:30 AM    4/13/2021 1:30 PM                    6:00:00   134833   125544620   3208069
                                                                                      Brilliance(N) Tampa/Cozumel                      4/13/2021   11:00 AM    4/13/2021 6:00 PM                    7:00:00   134833   125544691   3208074
                                                                                      Celebrity Infinity(B) Cozumel/Miami              4/14/2021    7:00 AM    4/14/2021 5:00 PM                   10:00:00   134833   125544801         0
                                                                                      Disney Magic(N) Miami/Bahamas                    4/14/2021    8:30 AM    4/14/2021 4:00 PM                    7:30:00   134833   131798077         0
                                                                                                                                                                5
                                                                                                                                 01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 6 of 13




                                                                                      Celebrity Infinity(N) Miami/Nassau                   4/16/2021    7:00 AM    4/16/2021    5:00 PM                10:00:00   134833   125544802         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel                    4/16/2021    7:30 AM    4/16/2021    3:30 PM                 8:00:00   134833   125544568   3208068
                                                                                      Armonia(B) fm/to                                     4/17/2021    9:00 AM    4/17/2021    6:00 PM                 9:00:00   134833   144469711         0
                                                                                      Majesty(B) Norleans/Bahamas                          4/19/2021   10:00 AM    4/19/2021    4:30 PM                 6:30:00   134833   134849299   3464944
                                                                                      Carnival Conquest(B) Miami/Cozumel                   4/20/2021    7:30 AM    4/20/2021    1:30 PM                 6:00:00   134833   125544621   3208069
                                                                                      MSC Armonia(N) fm/to                                 4/20/2021    8:00 AM    4/20/2021    6:00 PM                10:00:00   134833   144483308         0
                                                                                      Scarlet Lady(B) Miami/Bimini                         4/22/2021    8:00 AM    4/22/2021    7:00 PM                11:00:00   134833   134728307   3461386
                                                                                      Star Breeze(M) Miami/Cozumel                         4/23/2021    8:00 AM    4/23/2021    4:30 PM                 8:30:00   134833   144073426         0
                                                                                      Disney Magic(B) Miami/Bahamas                        4/23/2021    8:30 AM    4/23/2021    4:00 PM                 7:30:00   134833   131797982         0
                                                                                      Armonia(B) fm/to                                     4/24/2021    8:00 AM    4/24/2021    6:00 PM                10:00:00   134833   136135785         0
                                                                                      Celbrity Equinox(N) PEV/Cayman (charter)             4/24/2021    8:00 AM    4/24/2021    5:00 PM                 9:00:00   134833   142009813         0
                                                                                      Celebrity Apex(B) PEV/CostaMaya                      4/25/2021    7:00 AM    4/25/2021    5:00 PM                10:00:00   134833   125544668   3208070
                                                                                      Seabourn Oddyssy(N) Miami/Colombia                   4/25/2021    8:00 AM    4/25/2021    4:00 PM                 8:00:00   134833   135557430         0
                                                                                      Empress(M) Miami/CMaya                               4/26/2021    8:00 AM    4/26/2021    6:00 PM                10:00:00   134833   135035803         0
     EXHIBIT C




                                                                                      Majesty(B) Norleans/Bahamas                          4/26/2021   10:00 AM    4/26/2021    4:30 PM                 6:30:00   134833   134849300   3464944
                                                                                      Carnival Conquest(B) Miami/Cozumel                   4/27/2021    7:30 AM    4/27/2021    1:30 PM                 6:00:00   134833   125544622   3208069
                                                                                      Brilliance(N) Tampa/Cozumel                          4/27/2021   11:00 AM    4/27/2021    6:00 PM                 7:00:00   134833   125544692   3208074
                                                                                      Seven Seas Navigator(M) fm/to                        4/28/2021    8:00 AM    4/28/2021    5:30 PM                 9:30:00   134833   142691002         0
                                                                                      Disney Magic(B) Miami/Bahamas                        4/28/2021    8:30 AM    4/28/2021    4:00 PM                 7:30:00   134833   136082049         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel                    4/30/2021    7:30 AM    4/30/2021    3:30 PM                 8:00:00   134833   125544569   3208068
                                                                                      Marella Discovery(N) Tampa/Miami                     4/30/2021   10:00 AM    4/30/2021    6:00 PM                 8:00:00   134833   135021407         0
                                                                                      MSC Armonia(B) fm/to                                  5/1/2021    9:00 AM     5/1/2021    6:00 PM                 9:00:00   134833   144470418   3732961
                                                                                      Carnival Dream(B) fm Galveston                        5/3/2021   11:00 AM     5/3/2021    7:00 PM                 8:00:00   134833   136093850         0
                                                                                      Carnival Conquest(B) Miami/Cozumel                    5/4/2021    7:30 AM     5/4/2021    1:30 PM                 6:00:00   134833   125544623   3208069
                                                                                      Scarlet Lady(B) Miami/Bimini                          5/6/2021    8:00 AM     5/6/2021    7:00 PM                11:00:00   134833   134728308   3461386
                                                                                      Majesty(N) Bahamas/NOrleans                           5/6/2021    8:00 AM     5/6/2021    3:00 PM                 7:00:00   134833   137947354         0
                                                                                      Disney Magic(B) Miami/Bahamas                         5/7/2021    8:30 AM     5/7/2021    4:00 PM                 7:30:00   134833   132128641         0
                                                                                      MSC Armonia(B) fm/to                                  5/8/2021    9:00 AM     5/8/2021    6:00 PM                 9:00:00   134833   144470419   3732961
                                                                                      Carnival Dream(B) fm Galveston                       5/10/2021   11:00 AM    5/10/2021    7:00 PM                 8:00:00   134833   135151503   3474612
                                                                                      Carnival Conquest(B) Miami/Cozumel                   5/11/2021    7:30 AM    5/11/2021    1:30 PM                 6:00:00   134833   125544624   3208069
                                                                                      Regatta(M) Miami/Cayman                              5/11/2021    8:00 AM    5/11/2021    5:00 PM                 9:00:00   134833   134768707         0
                                                                                      Seven Seas Navigator(M) Miami/Cayman                 5/12/2021    7:30 AM    5/12/2021    5:00 PM                 9:30:00   134833   134781372         0
                                                                                      Marella Discovery(B) GrandTurk/Miami                 5/14/2021    8:00 AM    5/14/2021    6:00 PM                10:00:00   134833   131948498         0
                                                                                      MSC Armonia(B) fm/to                                 5/15/2021    9:00 AM    5/15/2021    6:00 PM                 9:00:00   134833   144470420   3732961
                                                                                      Majesty(B) Norleans/Bahamas                          5/17/2021   11:00 AM    5/17/2021    5:00 PM                 6:00:00   134833   136135526         0
                                                                                      Carnival Conquest(B) Miami/Cozumel                   5/18/2021    7:30 AM    5/18/2021    1:30 PM                 6:00:00   134833   125544625   3208069
                                                                                      MSC Armonia(N) fm/to                                 5/18/2021    8:00 AM    5/18/2021    6:00 PM                10:00:00   134833   144483387         0
                                                                                                                                                                    6
                                                                                                                             01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 7 of 13




                                                                                      Carnival Ecstasy(B) to/fm                        5/19/2021    7:30 AM    5/19/2021    5:00 PM                 9:30:00   134833   140382693         0
                                                                                      Scarlet Lady(B) Miami/Bimini                     5/20/2021    8:00 AM    5/20/2021    7:00 PM                11:00:00   134833   134728309   3461386
                                                                                      MSC Armonia(B) fm/to                             5/22/2021    8:00 AM    5/22/2021    6:00 PM                10:00:00   134833   144470421   3732961
                                                                                      Carnival Dream(B) fm Galveston                   5/24/2021   11:00 AM    5/24/2021    7:00 PM                 8:00:00   134833   135151504   3474612
                                                                                      Carnival Glory(B) fm NOrleans                    5/25/2021    9:00 AM    5/25/2021    5:00 PM                 8:00:00   134833   125544626   3208069
                                                                                      Majesty(B) Bahamas/NOrleans                      5/27/2021    7:00 AM    5/27/2021    3:00 PM                 8:00:00   134833   137947396         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel                5/28/2021    7:30 AM    5/28/2021    3:30 PM                 8:00:00   134833   125544571   3208068
                                                                                      MSC Armonia(B) fm/to                             5/29/2021    8:00 AM    5/29/2021    6:00 PM                10:00:00   134833   144470422   3732961
                                                                                      Carnival Radiance(B) fm/to                       5/30/2021   11:00 AM    5/30/2021    7:00 PM                 8:00:00   134833   135180701         0
                                                                                      Majesty(B) Norleans/Bahamas                      5/31/2021   11:00 AM    5/31/2021    5:00 PM                 6:00:00   134833   136135539         0
                                                                                      Carnival Conquest(B) Miami/Cozumel                6/1/2021    7:30 AM     6/1/2021    1:30 PM                 6:00:00   134833   125544627   3208069
                                                                                      MSC Armonia(N) fm/to                              6/3/2021    8:00 AM     6/3/2021    6:00 PM                10:00:00   134833   144483408         0
                                                                                      Scarlet Lady(B) Miami/Bimini                      6/3/2021    8:00 AM     6/3/2021    7:00 PM                11:00:00   134833   134728310   3461386
                                                                                      MSC Armonia(B) fm/to                              6/5/2021    9:00 AM     6/5/2021    6:00 PM                 9:00:00   134833   144470423   3732961
     EXHIBIT C




                                                                                      Carnival Dream(B) fm Galveston                    6/7/2021   11:00 AM     6/7/2021    7:00 PM                 8:00:00   134833   135151505   3474612
                                                                                      Carnival Conquest(B) Miami/Cozumel                6/8/2021    7:30 AM     6/8/2021    1:30 PM                 6:00:00   134833   125544628   3208069
                                                                                      MSC Armonia(N) fm/to                              6/8/2021    8:00 AM     6/8/2021    6:00 PM                10:00:00   134833   144483415         0
                                                                                      Majesty(B) Bahamas/NOrleans                      6/10/2021    8:00 AM    6/10/2021    3:00 PM                 7:00:00   134833   137947506         0
                                                                                      Marella Discovery(B) GrandTurk/Miami             6/11/2021    8:00 AM    6/11/2021    6:00 PM                10:00:00   134833   131948504         0
                                                                                      MSC Armonia(B) fm/to                             6/12/2021    9:00 AM    6/12/2021    6:00 PM                 9:00:00   134833   144470424   3732961
                                                                                      Majesty(B) Norleans/Bahamas                      6/14/2021   11:00 AM    6/14/2021    5:00 PM                 6:00:00   134833   136135660         0
                                                                                      Carnival Conquest(B) Miami/Cozumel               6/15/2021    7:30 AM    6/15/2021    1:30 PM                 6:00:00   134833   125544629   3208069
                                                                                      MSC Armonia(N) fm/to                             6/15/2021    8:00 AM    6/15/2021    6:00 PM                10:00:00   134833   144483421         0
                                                                                      Scarlet Lady(B) Miami/Bimini                     6/17/2021    8:00 AM    6/17/2021    7:00 PM                11:00:00   134833   134728311   3461386
                                                                                      MSC Armonia(B) Miami/Nassau                      6/19/2021    9:00 AM    6/19/2021    6:00 PM                 9:00:00   134833   145079817         0
                                                                                      Carnival Dream(B) fm Galveston                   6/21/2021   11:00 AM    6/21/2021    7:00 PM                 8:00:00   134833   135151506   3474612
                                                                                      Carnival Conquest(B) Miami/Cozumel               6/22/2021    7:30 AM    6/22/2021    1:30 PM                 6:00:00   134833   125544630   3208069
                                                                                      Majesty(B) Bahamas/NOrleans                      6/24/2021    7:00 AM    6/24/2021    3:00 PM                 8:00:00   134833   137947585         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel                6/25/2021    7:30 AM    6/25/2021    1:30 PM                 6:00:00   134833   125544573   3208068
                                                                                      Marella Discovery(N) GrandTurk/Miami             6/25/2021    8:00 AM    6/25/2021    6:00 PM                10:00:00   134833   131948507         0
                                                                                      MSC Armonia(B) fm/to                             6/26/2021    9:00 AM    6/26/2021    6:00 PM                 9:00:00   134833   144470426   3732961
                                                                                      Majesty(B) Norleans/Bahamas                      6/28/2021   11:00 AM    6/28/2021    5:00 PM                 6:00:00   134833   136135664         0
                                                                                      MSC Armonia(N) fm/to                             6/29/2021    8:00 AM    6/29/2021    6:00 PM                10:00:00   134833   144483505         0
                                                                                      Carnival Glory(B) fm NOrleans                    6/29/2021    9:00 AM    6/29/2021    5:00 PM                 8:00:00   134833   125544631   3208069
                                                                                      Scarlet Lady(B) Miami/Bimini                      7/1/2021    8:00 AM     7/1/2021    7:00 PM                11:00:00   134833   134728312   3461386
                                                                                      MSC Armonia(B) Miami/Nassau                       7/3/2021    9:00 AM     7/3/2021    6:00 PM                 9:00:00   134833   145079821         0
                                                                                      Carnival Dream(B) fm Galveston                    7/5/2021   11:00 AM     7/5/2021    7:00 PM                 8:00:00   134833   135151507   3474612
                                                                                                                                                                7
                                                                                                                             01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 8 of 13




                                                                                      Carnival Conquest(B) Miami/Cozumel                7/6/2021    7:30 AM     7/6/2021    1:30 PM                 6:00:00   134833   125544632   3208069
                                                                                      Majesty(B) Bahamas/NOrleans                       7/8/2021    7:00 AM     7/8/2021    3:00 PM                 8:00:00   134833   137947592         0
                                                                                      Marella Discovery(B) GrandTurk/Miami              7/9/2021    8:00 AM     7/9/2021    6:00 PM                10:00:00   134833   131948510         0
                                                                                      MSC Armonia(B) fm/to                             7/10/2021    9:00 AM    7/10/2021    6:00 PM                 9:00:00   134833   144470428   3732961
                                                                                      Carnival Radiance(B) fm/to                       7/11/2021   11:00 AM    7/11/2021    7:00 PM                 8:00:00   134833   135180725         0
                                                                                      Majesty(B) Norleans/Bahamas                      7/12/2021   11:00 AM    7/12/2021    5:00 PM                 6:00:00   134833   136135689   3502774
                                                                                      Carnival Conquest(B) Miami/Cozumel               7/13/2021    7:30 AM    7/13/2021    1:30 PM                 6:00:00   134833   125544633   3208069
                                                                                      MSC Armonia(N) fm/to                             7/13/2021    8:00 AM    7/13/2021    6:00 PM                10:00:00   134833   144483544         0
                                                                                      Scarlet Lady(B) Miami/Bimini                     7/15/2021    8:00 AM    7/15/2021    7:00 PM                11:00:00   134833   134728313   3461386
                                                                                      MSC Armonia(B) Miami/Nassau                      7/17/2021    9:00 AM    7/17/2021    6:00 PM                 9:00:00   134833   145079822         0
                                                                                      Carnival Dream(B) fm Galveston                   7/19/2021   11:00 AM    7/19/2021    7:00 PM                 8:00:00   134833   135151508   3474612
                                                                                      Carnival Conquest(B) Miami/Cozumel               7/20/2021    7:30 AM    7/20/2021    1:30 PM                 6:00:00   134833   125544634   3208069
                                                                                      Majesty(B) Bahamas/NOrleans                      7/22/2021    7:00 AM    7/22/2021    3:00 PM                 8:00:00   134833   137947607         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel                7/23/2021    7:30 AM    7/23/2021    1:30 PM                 6:00:00   134833   125544575   3208068
     EXHIBIT C




                                                                                      Marella Discovery(N) GrandTurk/Miami             7/23/2021    8:00 AM    7/23/2021    6:00 PM                10:00:00   134833   131948512         0
                                                                                      MSC Armonia(B) fm/to                             7/24/2021    9:00 AM    7/24/2021    6:00 PM                 9:00:00   134833   144470430   3732961
                                                                                      Majesty(B) Norleans/Bahamas                      7/26/2021   11:00 AM    7/26/2021    5:00 PM                 6:00:00   134833   136135690   3502774
                                                                                      Carnival Conquest(B) Miami/Cozumel               7/27/2021    7:30 AM    7/27/2021    1:30 PM                 6:00:00   134833   125544635   3208069
                                                                                      MSC Armonia(N) fm/to                             7/27/2021    8:00 AM    7/27/2021    6:00 PM                10:00:00   134833   144483569         0
                                                                                      Scarlet Lady(B) Miami/Bimini                     7/29/2021    8:00 AM    7/29/2021    7:00 PM                11:00:00   134833   134728314   3461386
                                                                                      MSC Armonia(B) fm/to                             7/31/2021    9:00 AM    7/31/2021    6:00 PM                 9:00:00   134833   144470431   3732961
                                                                                      Carnival Dream(B) fm Galveston                    8/2/2021   11:00 AM     8/2/2021    7:00 PM                 8:00:00   134833   135151509   3474612
                                                                                      Carnival Conquest(B) Miami/Cozumel                8/3/2021    7:30 AM     8/3/2021    1:30 PM                 6:00:00   134833   125544636   3208069
                                                                                      Carnival Glory(N) fm NOrleans                     8/3/2021    9:00 AM     8/3/2021    5:00 PM                 8:00:00   134833   135180734         0
                                                                                      Majesty(B) Bahamas/NOrleans                       8/5/2021    8:00 AM     8/5/2021    3:00 PM                 7:00:00   134833   137947612         0
                                                                                      MSC Armonia(B) fm/to                              8/7/2021    9:00 AM     8/7/2021    6:00 PM                 9:00:00   134833   144470432   3732961
                                                                                      Majesty(B) Norleans/Bahamas                       8/9/2021   11:00 AM     8/9/2021    5:00 PM                 6:00:00   134833   136135691   3502774
                                                                                      Carnival Conquest(B) Miami/Cozumel               8/10/2021    7:30 AM    8/10/2021    1:30 PM                 6:00:00   134833   125544637   3208069
                                                                                      MSC Armonia(N) fm/to                             8/10/2021    8:00 AM    8/10/2021    6:00 PM                10:00:00   134833   144483580         0
                                                                                      Scarlet Lady(B) Miami/Bimini                     8/12/2021    8:00 AM    8/12/2021    7:00 PM                11:00:00   134833   134728315   3461386
                                                                                      MSC Armonia(B) fm/to                             8/14/2021    8:00 AM    8/14/2021    6:00 PM                10:00:00   134833   144470433   3732961
                                                                                      Carnival Dream(B) fm Galveston                   8/16/2021   11:00 AM    8/16/2021    7:00 PM                 8:00:00   134833   135151510   3474612
                                                                                      Carnival Conquest(B) Miami/Cozumel               8/17/2021    7:30 AM    8/17/2021    1:30 PM                 6:00:00   134833   125544638   3208069
                                                                                      Norwegian Sky(B) Miami/Cozumel                   8/18/2021    6:30 AM    8/18/2021    2:00 PM                 7:30:00   134833   141259604         0
                                                                                      Majesty(B) Norleans/Bahamas                      8/19/2021    7:00 AM    8/19/2021    3:00 PM                 8:00:00   134833   137947618         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel                8/20/2021    7:30 AM    8/20/2021    1:30 PM                 6:00:00   134833   125544577   3208068
                                                                                      MSC Armonia(B) fm/to                             8/21/2021    9:00 AM    8/21/2021    6:00 PM                 9:00:00   134833   144470434   3732961
                                                                                                                                                                8
                                                                                                                             01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 9 of 13




                                                                                      Carnival Radiance(B) fm/to                       8/22/2021   11:00 AM    8/22/2021    7:00 PM                 8:00:00   134833   135180739         0
                                                                                      Majesty(B) Norleans/Bahamas                      8/23/2021   11:00 AM    8/23/2021    5:00 PM                 6:00:00   134833   136135692   3502774
                                                                                      Carnival Conquest(B) Miami/Cozumel               8/24/2021    7:30 AM    8/24/2021    1:30 PM                 6:00:00   134833   125544639   3208069
                                                                                      MSC Armonia(N) fm/to                             8/24/2021    8:00 AM    8/24/2021    6:00 PM                10:00:00   134833   144483591         0
                                                                                      Carnival Ecstasy(B) fm/to                        8/25/2021    7:30 AM    8/25/2021    5:00 PM                 9:30:00   134833   140382716         0
                                                                                      Scarlet Lady(B) Miami/Bimini                     8/26/2021    8:00 AM    8/26/2021    7:00 PM                11:00:00   134833   134728316   3461386
                                                                                      MSC Armonia(B) fm/to                             8/28/2021    9:00 AM    8/28/2021    6:00 PM                 9:00:00   134833   144470435   3732961
                                                                                      Carnival Dream(B) fm Galveston                   8/30/2021   11:00 AM    8/30/2021    7:00 PM                 8:00:00   134833   135151511   3474612
                                                                                      Carnival Conquest(B) Miami/Cozumel               8/31/2021    7:30 AM    8/31/2021    1:30 PM                 6:00:00   134833   125544640   3208069
                                                                                      Majesty(B) Norleans/Bahamas                       9/2/2021    7:00 AM     9/2/2021    3:00 PM                 8:00:00   134833   137947623         0
                                                                                      MSC Armonia(B) fm/to                              9/4/2021    8:00 AM     9/4/2021    6:00 PM                10:00:00   134833   144470436   3732961
                                                                                      Majesty(B) Norleans/Bahamas                       9/6/2021   11:00 AM     9/6/2021    5:00 PM                 6:00:00   134833   136135693   3502774
                                                                                      Carnival Conquest(B) Miami/Cozumel                9/7/2021    7:30 AM     9/7/2021    1:30 PM                 6:00:00   134833   125544641   3208069
                                                                                      Carnival Glory(B) fm NOrleans                     9/7/2021    9:00 AM     9/7/2021    5:00 PM                 8:00:00   134833   135180744         0
     EXHIBIT C




                                                                                      Scarlet Lady(B) Miami/Bimini                      9/9/2021    8:00 AM     9/9/2021    6:30 PM                10:30:00   134833   134728317   3461386
                                                                                      MSC Armonia(N) fm/to                              9/9/2021    8:00 AM     9/9/2021    6:00 PM                10:00:00   134833   144483607         0
                                                                                      Marella Discovery(B) GrandTurk/Miami             9/10/2021    8:00 AM    9/10/2021    6:00 PM                10:00:00   134833   131948516         0
                                                                                      MSC Armonia(B) fm/to                             9/11/2021    8:00 AM    9/11/2021    6:00 PM                10:00:00   134833   144470437   3732961
                                                                                      Carnival Dream(B) fm Galveston                   9/13/2021   11:00 AM    9/13/2021    7:00 PM                 8:00:00   134833   135151512   3474612
                                                                                      Carnival Conquest(B) Miami/Cozumel               9/14/2021    7:30 AM    9/14/2021    1:30 PM                 6:00:00   134833   125544642   3208069
                                                                                      Carnival Sensation(B) fm Mobile                  9/15/2021    9:00 AM    9/15/2021    6:00 PM                 9:00:00   134833   136569239         0
                                                                                      Majesty(B) Bahamas/NOrleans                      9/16/2021    7:00 AM    9/16/2021    3:00 PM                 8:00:00   134833   137947626         0
                                                                                      Carnival Sunrise(B) Miami/Cozumel                9/17/2021    7:30 AM    9/17/2021    3:30 PM                 8:00:00   134833   125544579   3208068
                                                                                      Fram(M) Miami/Belize                             9/17/2021    8:00 AM    9/17/2021    6:00 PM                10:00:00   134833   136850186         0
                                                                                      MSC Armonia(B) fm/to                             9/18/2021    9:00 AM    9/18/2021    6:00 PM                 9:00:00   134833   144470438   3732961
                                                                                      Majesty(B) Norleans/Bahamas                      9/20/2021   11:00 AM    9/20/2021    5:00 PM                 6:00:00   134833   136135694   3502774
                                                                                      Carnival Conquest(B) Miami/Cozumel               9/21/2021    7:30 AM    9/21/2021    1:30 PM                 6:00:00   134833   125544643   3208069
                                                                                      MSC Armonia(N) fm/to                             9/21/2021    8:00 AM    9/21/2021    6:00 PM                10:00:00   134833   144483612         0
                                                                                      Scarlet Lady(B) Miami/Bimini                     9/23/2021    8:00 AM    9/23/2021    6:30 PM                10:30:00   134833   134728318   3461386
                                                                                      Marella Discovery(B) GrandTurk/Miami             9/24/2021    8:00 AM    9/24/2021    6:00 PM                10:00:00   134833   131948518         0
                                                                                      MSC Armonia(B) fm/to                             9/25/2021    9:00 AM    9/25/2021    6:00 PM                 9:00:00   134833   144470439   3732961
                                                                                      Carnival Dream(B) fm Galveston                   9/27/2021   11:00 AM    9/27/2021    7:00 PM                 8:00:00   134833   135151513   3474612
                                                                                      Carnival Conquest(B) Miami/Cozumel               9/28/2021    7:30 AM    9/28/2021    1:30 PM                 6:00:00   134833   125544644   3208069
                                                                                      Majesty(B) Bahamas/PEV                           9/30/2021    7:00 AM    9/30/2021    3:00 PM                 8:00:00   134833   137947632         0
                                                                                      Norwegian Sky(N) Miami/Nassau                    9/30/2021    7:00 AM    9/30/2021    2:00 PM                 7:00:00   134833   141876681         0
                                                                                      MSC Armonia(B) fm/to                             10/2/2021    9:00 AM    10/2/2021    6:00 PM                 9:00:00   134833   144470440   3732961
                                                                                      Carnival Radiance(B) fm NOrleans                 10/3/2021   11:00 AM    10/3/2021    7:00 PM                 8:00:00   134833   136093935         0
                                                                                                                                                                9
                                                                                                                           01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 10 of 13




                                                                                       Majesty(B) Norleans/Bahamas                   10/4/2021   11:00 AM    10/4/2021 5:00 PM                    6:00:00   134833   136135695   3502774
                                                                                       Carnival Conquest(B) Miami/Cozumel            10/5/2021    7:30 AM    10/5/2021 1:30 PM                    6:00:00   134833   125544645   3208069
                                                                                       MSC Armonia(N) fm/to                          10/5/2021    8:00 AM    10/5/2021 6:00 PM                   10:00:00   134833   144483625         0
                                                                                       Scarlet Lady(B) Miami/Bimini                  10/7/2021    8:00 AM    10/7/2021 6:00 PM                   10:00:00   134833   134728319   3461386
                                                                                       Marella Discovery(B) GrandTurk/Miami          10/8/2021    8:00 AM    10/8/2021 6:00 PM                   10:00:00   134833   131948521         0
                                                                                       SeaDream Innovation(M) Miami/CostaMaya        10/9/2021    8:00 AM    10/9/2021 10:00 PM                  14:00:00   134833   135005718         0
                                                                                       MSC Armonia(B) fm/to                          10/9/2021    9:00 AM    10/9/2021 6:00 PM                    9:00:00   134833   144470441   3732961
                                                                                       Carnival Dream(B) fm Galveston               10/11/2021   11:00 AM   10/11/2021 7:00 PM                    8:00:00   134833   135151514   3474612
                                                                                       Carnival Glory(B) fm NOrleans                10/12/2021    9:00 AM   10/12/2021 5:00 PM                    8:00:00   134833   125544646   3208069
                                                                                       Majesty(B) Bahamas/NOrleans                  10/14/2021    7:00 AM   10/14/2021 3:00 PM                    8:00:00   134833   137947637         0
                                                                                       Carnival Sunrise(B) Miami/Cozumel            10/15/2021    7:30 AM   10/15/2021 1:30 PM                    6:00:00   134833   125544581   3208068
                                                                                       MSC Armonia(B) fm/to                         10/16/2021    9:00 AM   10/16/2021 6:00 PM                    9:00:00   134833   144470442   3732961
                                                                                       Artania(B) Miami/Cayman                      10/18/2021    8:00 AM   10/18/2021 6:00 PM                   10:00:00   134833   133257436         0
                                                                                       Carnival Conquest(B) Miami/Cozumel           10/19/2021    7:30 AM   10/19/2021 1:30 PM                    6:00:00   134833   125544647   3208069
     EXHIBIT C




                                                                                       Scarlet Lady(B) Miami/Bimini                 10/21/2021    8:00 AM   10/21/2021 6:00 PM                   10:00:00   134833   134728320   3461386
                                                                                       Marella Discovery(B) GrandTurk/Miami         10/22/2021    8:00 AM   10/22/2021 6:00 PM                   10:00:00   134833   131948524         0
                                                                                       MSC Armonia(B) fm/to                         10/23/2021    9:00 AM   10/23/2021 6:00 PM                    9:00:00   134833   144470443   3732961
                                                                                       Viking Star(B) Miami/Cozumel                 10/24/2021    7:30 AM   10/24/2021 5:00 PM                    9:30:00   134833   143821012         0
                                                                                       Carnival Dream(B) fm Galveston               10/25/2021   11:00 AM   10/25/2021 7:00 PM                    8:00:00   134833   135151515   3474612
                                                                                       Carnival Conquest(B) Miami/Cozumel           10/26/2021    7:30 AM   10/26/2021 1:30 PM                    6:00:00   134833   125544648   3208069
                                                                                       Ryndam(B) Bahamas/PEV                        10/27/2021    7:30 AM   10/27/2021 5:00 PM                    9:30:00   134833   140656830         0
                                                                                       Majesty(B) Bahamas/NOrleans                  10/28/2021    7:00 AM   10/28/2021 3:00 PM                    8:00:00   134833   137947645         0
                                                                                       Seabourn Oddyssy(M) Cayman/Miami             10/28/2021    8:00 AM   10/28/2021 6:00 PM                   10:00:00   134833   133991930         0
                                                                                       MSC Armonia(N) fm/to                         10/28/2021    8:00 AM   10/28/2021 6:00 PM                   10:00:00   134833   144483648         0
                                                                                       Nieuw Amsterdam(B) Cozumel/PEV charter       10/29/2021    8:00 AM   10/29/2021 5:00 PM                    9:00:00   134833   137501256         0
                                                                                       MSC Armonia(B) fm/to                         10/30/2021    9:00 AM   10/30/2021 6:00 PM                    9:00:00   134833   144470444   3732961
                                                                                       Norwegian Jewel(N) Miami/Freeport            10/31/2021    7:30 AM   10/31/2021 4:00 PM                    8:30:00   134833   140997283         0
                                                                                       Rhapsody(B) Tampa/Cayman                     10/31/2021   11:00 AM   10/31/2021 6:00 PM                    7:00:00   134833   126437731         0
                                                                                       Majesty(B) Norleans/Bahamas                   11/1/2021   11:00 AM    11/1/2021 5:00 PM                    6:00:00   134833   136135697   3502774
                                                                                       Veendam(M) Tampa/Roatan                       11/1/2021   11:00 AM    11/1/2021 6:00 PM                    7:00:00   134833   137503296         0
                                                                                       Carnival Conquest(B) Miami/Cozumel            11/2/2021    7:30 AM    11/2/2021 1:30 PM                    6:00:00   134833   125544649   3208069
                                                                                       Celebrity Infinity(N) Miami/Cozumel           11/4/2021    7:00 AM    11/4/2021 5:00 PM                   10:00:00   134833   135755851         0
                                                                                       Scarlet Lady(B) Miami/Bimini                  11/4/2021    8:00 AM    11/4/2021 6:00 PM                   10:00:00   134833   134728321   3461386
                                                                                       Norwegian Jewel(N) Miami/Bahamas              11/5/2021    7:30 AM    11/5/2021 4:00 PM                    8:30:00   134833   140997311         0
                                                                                       Ryndam(B) Cayman/PEV                          11/6/2021    8:00 AM    11/6/2021 5:00 PM                    9:00:00   134833   137697843         0
                                                                                       Celebrity Reflection(B) PEV/Cozumel           11/7/2021    7:00 AM    11/7/2021 5:00 PM                   10:00:00   134833   135755855         0
                                                                                       Armonia(N) fm Miami                           11/7/2021   12:00 PM    11/7/2021 7:00 PM                    7:00:00   134833   141970070         0
                                                                                                                                                              10
                                                                                                                               01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 11 of 13




                                                                                       Carnival Dream(B) fm Galveston                    11/8/2021   11:00 AM    11/8/2021    7:00 PM                 8:00:00   134833   135151516   3474612
                                                                                       Majesty(N) Norleans/Bahamas                       11/8/2021   11:00 AM    11/8/2021    5:00 PM                 6:00:00   134833   136135719         0
                                                                                       Navy pier closed ‐ Boat races                     11/9/2021   12:00 AM    11/9/2021   11:59 PM                24:00:00   134833   132999906         0
                                                                                       Carnival Conquest(B) Miami/Cozumel                11/9/2021    7:30 AM    11/9/2021    1:30 PM                 6:00:00   134833   125544650   3208069
                                                                                       Port closed ‐ Boat races                         11/10/2021   12:00 AM   11/10/2021   11:59 PM                24:00:00   134833   129954510         0
                                                                                       Navy pier closed ‐ Boat races                    11/11/2021   12:00 AM   11/11/2021   11:59 PM                24:00:00   134833   129954529         0
                                                                                       Armonia(B) fm Tampa                              11/11/2021   12:00 PM   11/11/2021    7:00 PM                 7:00:00   134833   141970069         0
                                                                                       Port closed ‐ Boat races                         11/12/2021   12:00 AM   11/12/2021   11:59 PM                24:00:00   134833   129954513         0
                                                                                       Navy pier closed ‐ Boat races                    11/13/2021   12:00 AM   11/13/2021   11:59 PM                24:00:00   134833   129954531         0
                                                                                       Ryndam(B) DomRep/PEV                             11/13/2021    8:00 AM   11/13/2021    5:00 PM                 9:00:00   134833   137697901         0
                                                                                       Port closed ‐ Boat races                         11/14/2021   12:00 AM   11/14/2021   11:59 PM                24:00:00   134833   129954523         0
                                                                                       Norwegian Jewel(B) Miami/Bahamas                 11/15/2021    7:30 AM   11/15/2021    4:00 PM                 8:30:00   134833   139211645         0
                                                                                       Disney Magic(N) Miami/Bahamas                    11/15/2021    7:45 AM   11/15/2021    4:15 PM                 8:30:00   134833   143986789         0
                                                                                       Carnival Conquest(B) Miami/Cozumel               11/16/2021    7:15 AM   11/16/2021    1:30 PM                 6:15:00   134833   125544651   3208069
     EXHIBIT C




                                                                                       Carnival Glory(B) fm NOrleans                    11/16/2021    9:00 AM   11/16/2021    5:00 PM                 8:00:00   134833   135180784         0
                                                                                       Armonia(N) fm Tampa                              11/17/2021   12:00 PM   11/17/2021    7:00 PM                 7:00:00   134833   139334088         0
                                                                                       Scarlet Lady(B) Miami/Bimini                     11/18/2021    8:00 AM   11/18/2021    5:00 PM                 9:00:00   134833   134728322   3461386
                                                                                       N.Amsterdam charter(N) charter Fm/to             11/18/2021    9:00 AM   11/18/2021    8:00 PM                11:00:00   134833   144916849         0
                                                                                       Celebrity Infinity(B) Miami/Nassau               11/19/2021    7:00 AM   11/19/2021    5:00 PM                10:00:00   134833   135755863         0
                                                                                       Nieuw Amsterdam(N) DomRep/PEV                    11/19/2021    8:00 AM   11/19/2021    5:00 PM                 9:00:00   134833   143552683         0
                                                                                       Celebrity Reflection(B) PEV/CostaMaya            11/21/2021    7:00 AM   11/21/2021    5:00 PM                10:00:00   134833   135755872         0
                                                                                       Crystal Serenity(N) to/fm                        11/21/2021    7:30 AM   11/21/2021    5:30 PM                10:00:00   134833   125894557         0
                                                                                       Carnival Dream(B) fm Galveston                   11/22/2021   11:00 AM   11/22/2021    7:00 PM                 8:00:00   134833   135151517   3474612
                                                                                       Majesty(N) Norleans/Bahamas                      11/22/2021   11:00 AM   11/22/2021    5:00 PM                 6:00:00   134833   136135731         0
                                                                                       Celebrity Infinity(N) Miami/Cozumel              11/23/2021    7:00 AM   11/23/2021    5:00 PM                10:00:00   134833   135150460         0
                                                                                       Carnival Conquest(B) Miami/Cozumel               11/23/2021    7:30 AM   11/23/2021    1:30 PM                 6:00:00   134833   125544652   3208069
                                                                                       Constellation(B) Tampa/Bonaire                   11/24/2021    7:00 AM   11/24/2021    4:00 PM                 9:00:00   134833   137947776         0
                                                                                       Amsterdam(N) PEV/GCayman                         11/24/2021    7:45 AM   11/24/2021    2:00 PM                 6:15:00   134833   140704375         0
                                                                                       Disney Wonder(B) Galveston/Bahamas               11/25/2021    7:45 AM   11/25/2021    5:00 PM                 9:15:00   134833   143986819         0
                                                                                       Celebrity Millenium(B) Miami/Nassau              11/26/2021    7:00 AM   11/26/2021    5:00 PM                10:00:00   134833   128546691         0
                                                                                       Armonia(N) fm Tampa                              11/26/2021   12:00 PM   11/26/2021    7:00 PM                 7:00:00   134833   141970071         0
                                                                                       Crystal Serenity(N) Cayman/Miami                 11/27/2021    7:00 AM   11/27/2021    5:30 PM                10:30:00   134833   125505290         0
                                                                                       Azamara Quest(M) Miami/Haiti                     11/27/2021    7:30 AM   11/27/2021    4:45 PM                 9:15:00   134833   139644297         0
                                                                                       Ryndam(B) Cayman/PEV                             11/27/2021    8:00 AM   11/27/2021    5:00 PM                 9:00:00   134833   137697964         0
                                                                                       Celebrity Apex(B) PEV/Belize                     11/28/2021    7:00 AM   11/28/2021    5:00 PM                10:00:00   134833   132999928         0
                                                                                       Brilliance(N) Tampa/Bahamas                      11/28/2021   11:00 AM   11/28/2021    6:00 PM                 7:00:00   134833   142678304         0
                                                                                       Jewel of the Seas(B) Miami/Cayman                11/29/2021    7:00 AM   11/29/2021    4:00 PM                 9:00:00   134833   136135699   3502774
                                                                                                                                                                  11
                                                                                                                            01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 12 of 13




                                                                                       Veendam(N) Tampa/Roatan                       11/29/2021   11:00 AM   11/29/2021    6:00 PM                 7:00:00   134833   137504350         0
                                                                                       Carnival Conquest(B) Miami/Cozumel            11/30/2021    7:30 AM   11/30/2021    1:30 PM                 6:00:00   134833   125544653   3208069
                                                                                       Silver Whisper(M) fm SanJuan                   12/1/2021    7:30 AM    12/1/2021    4:45 PM                 9:15:00   134833   141766351         0
                                                                                       Disney Wonder(B) Bahamas/Miami                 12/1/2021    9:45 AM    12/1/2021    5:30 PM                 7:45:00   134833   139978255         0
                                                                                       Armonia(N) fm Miami                            12/1/2021   12:00 PM    12/1/2021    7:00 PM                 7:00:00   134833   139334140   3590035
                                                                                       Marina(N) Miami/Cozumel                        12/2/2021    7:30 AM    12/2/2021    3:00 PM                 7:30:00   134833   137954875         0
                                                                                       Scarlet Lady(B) Miami/Bimini                   12/2/2021    8:00 AM    12/2/2021    5:00 PM                 9:00:00   134833   134728323   3461386
                                                                                       Celebrity Infinity(B) Miami/Nassau             12/3/2021    7:00 AM    12/3/2021    5:00 PM                10:00:00   134833   137947791         0
                                                                                       Seabourn Quest(N) Belize/Miami                 12/4/2021    8:00 AM    12/4/2021    6:00 PM                10:00:00   134833   137089788         0
                                                                                       Celebrity Reflection(B) PEV/Cozumel            12/5/2021    7:00 AM    12/5/2021    5:00 PM                10:00:00   134833   137947836         0
                                                                                       N.Amsterdam(N) PEV/GTurk                       12/5/2021    8:00 AM    12/5/2021    5:30 PM                 9:30:00   134833   139823045         0
                                                                                       Carnival Dream(B) fm Galveston                 12/6/2021   11:00 AM    12/6/2021    7:00 PM                 8:00:00   134833   135151518   3474612
                                                                                       Majesty(N) Norleans/Bahamas                    12/6/2021   11:00 AM    12/6/2021    5:00 PM                 6:00:00   134833   136135733         0
                                                                                       Celebrity Infinity(N) Miami/Cozumel            12/7/2021    7:00 AM    12/7/2021    5:00 PM                10:00:00   134833   137947886         0
     EXHIBIT C




                                                                                       Carnival Conquest(B) Miami/Cozumel             12/7/2021    7:30 AM    12/7/2021    1:30 PM                 6:00:00   134833   125544654   3208069
                                                                                       Disney Magic(B) Miami/Bahamas                  12/8/2021    7:45 AM    12/8/2021    4:15 PM                 8:30:00   134833   141806773         0
                                                                                       Disney Wonder(N) Galveston/Bahamas             12/9/2021    7:45 AM    12/9/2021    5:00 PM                 9:15:00   134833   143986873         0
                                                                                       Norwegian Dawn(B) Tampa/DomRep                 12/9/2021   10:30 AM    12/9/2021    5:00 PM                 6:30:00   134833   141477468         0
                                                                                       Celebrity Millenium(N) PEV/Nassau             12/10/2021    7:00 AM   12/10/2021    5:00 PM                10:00:00   134833   128546718         0
                                                                                       Carnival Sunrise(B) Miami/Cozumel             12/10/2021    7:30 AM   12/10/2021    3:30 PM                 8:00:00   134833   125544585   3208068
                                                                                       Star Legend(M) Miami/CostaMaya                12/10/2021    8:00 AM   12/10/2021    4:30 PM                 8:30:00   134833   139111257         0
                                                                                       Viking Star(M) Miami/Cozumel                  12/11/2021    7:30 AM   12/11/2021    5:00 PM                 9:30:00   134833   143822532         0
                                                                                       Ryndam(B) DomRep/PEV                          12/11/2021    8:00 AM   12/11/2021    5:00 PM                 9:00:00   134833   137697974         0
                                                                                       Armonia(N) fm Tampa                           12/11/2021   12:00 PM   12/11/2021    7:00 PM                 7:00:00   134833   139361814         0
                                                                                       Celebrity Apex(N) PEV/Roatan                  12/12/2021    7:00 AM   12/12/2021    5:00 PM                10:00:00   134833   126437740         0
                                                                                       Carnival Radiance(N) fm NOrleans              12/12/2021   11:00 AM   12/12/2021    7:00 PM                 8:00:00   134833   136094102         0
                                                                                       Jewel of the Seas(B) Miami/Cayman             12/13/2021    7:00 AM   12/13/2021    4:00 PM                 9:00:00   134833   136135700   3502774
                                                                                       Carnival Conquest(B) Miami/Cozumel            12/14/2021    7:30 AM   12/14/2021    1:30 PM                 6:00:00   134833   125544655   3208069
                                                                                       Armonia(N) fm Miami                           12/15/2021   12:00 PM   12/15/2021    7:00 PM                 7:00:00   134833   139334141   3590035
                                                                                       Scarlet Lady(B) Miami/Bimini                  12/16/2021    8:00 AM   12/16/2021    5:00 PM                 9:00:00   134833   134728324   3461386
                                                                                       Celebrity Infinity(B) Miami/Cozumel           12/17/2021    7:00 AM   12/17/2021    5:00 PM                10:00:00   134833   137947895         0
                                                                                       Norwegian Sky(B) Miami/Bahamas                12/18/2021    7:30 AM   12/18/2021    4:00 PM                 8:30:00   134833   135961615         0
                                                                                       Seven Seas Mariner(B) Miami/Cartagena         12/19/2021    8:00 AM   12/19/2021    4:00 PM                 8:00:00   134833   134853356         0
                                                                                       Seven Seas Splendor(N) Bahamas/Cozumel        12/19/2021   10:00 AM   12/19/2021    8:00 PM                10:00:00   134833   134778733         0
                                                                                       Star Legend(N) Miami/Cozumel                  12/20/2021    8:00 AM   12/20/2021    5:30 PM                 9:30:00   134833   139111267         0
                                                                                       Carnival Dream(B) fm Galveston                12/20/2021   11:00 AM   12/20/2021    7:00 PM                 8:00:00   134833   135151519   3474612
                                                                                       Carnival Conquest(B) Miami/Cozumel            12/21/2021    7:30 AM   12/21/2021    1:30 PM                 6:00:00   134833   125544656   3208069
                                                                                                                                                               12
                                                                                                                               01.01.2021‐12.31.2021 ‐ Port of Key West Schedule (Exported from Website)
Case 4:20-cv-10076-JLK Document 31-3 Entered on FLSD Docket 07/26/2020 Page 13 of 13




                                                                                       Eurodam(N) DomRep/PEV                            12/21/2021    8:00 AM   12/21/2021    5:00 PM                 9:00:00   134833   137432819         0
                                                                                       Celebrity Infinity(B) Miami/Cozumel              12/22/2021    7:00 AM   12/22/2021    5:00 PM                10:00:00   134833   129954777         0
                                                                                       Azamara Quest(M) Haiti/Miami                     12/22/2021    7:30 AM   12/22/2021    4:00 PM                 8:30:00   134833   139644307         0
                                                                                       Majesty(N) Bahamas/NOrleans                      12/22/2021    8:00 AM   12/22/2021    3:00 PM                 7:00:00   134833   137943821         0
                                                                                       Nieuw Statedam(B) PEV/Grand Turk                 12/23/2021    8:00 AM   12/23/2021    5:30 PM                 9:30:00   134833   140553547         0
                                                                                       Celebrity Millenium(B) PEV/Nassau                12/24/2021    7:00 AM   12/24/2021    5:00 PM                10:00:00   134833   138405650         0
                                                                                       Celebrity Constellation(N) Tampa/Cartagena       12/24/2021   11:30 AM   12/24/2021    6:30 PM                 7:00:00   134833   139673840         0
                                                                                       Norwegian Sky(B) Miami/Nassau                    12/25/2021    7:00 AM   12/25/2021    2:00 PM                 7:00:00   134833   141876723         0
                                                                                       Armonia(N) fm Tampa                              12/25/2021   12:00 PM   12/25/2021    7:00 PM                 7:00:00   134833   139361856         0
                                                                                       Enchantment(B) Canaveral/Bahamas                 12/26/2021   12:00 PM   12/26/2021    6:00 PM                 6:00:00   134833   139641728         0
                                                                                       Amsterdam (B) Cayman/PEV                         12/27/2021    7:30 AM   12/27/2021    5:00 PM                 9:30:00   134833   139823054         0
                                                                                       Veendam(N) Tampa/Roatan                          12/27/2021   11:00 AM   12/27/2021    6:00 PM                 7:00:00   134833   137508053         0
                                                                                       Celebrity Apex(N) PEV/Belize                     12/28/2021    7:00 AM   12/28/2021    5:00 PM                10:00:00   134833   137655893         0
                                                                                       Carnival Dream(B) fm Galveston                   12/28/2021   11:00 AM   12/28/2021    7:00 PM                 8:00:00   134833   125544657   3208069
     EXHIBIT C




                                                                                       Majesty(B) Bahamas/NOrleans                      12/29/2021    8:00 AM   12/29/2021    3:00 PM                 7:00:00   134833   137947925         0
                                                                                       Armonia(N) fm Miami                              12/29/2021   12:00 PM   12/29/2021    7:00 PM                 7:00:00   134833   139334142   3590035
                                                                                       Norwegian Sky(N) fm/to                           12/30/2021    7:00 AM   12/30/2021    2:00 PM                 7:00:00   134833   142691108         0
                                                                                       Scarlet Lady(B) Miami/Bimini                     12/30/2021    8:00 AM   12/30/2021    5:00 PM                 9:00:00   134833   134728325   3461386
                                                                                       Celebrity Infinity(B) Miami/Nassau               12/31/2021    7:00 AM   12/31/2021    5:00 PM                10:00:00   134833   132999941         0
                                                                                                                                                                  13
